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                        Exhibit 7

               Cure and Assumption Notice
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re
                                                                       Chapter 11

    Lordstown Motors Corp., et al.,1                                   Case No. 23-10831 (MFW)

                                                                       (Jointly Administered)
                                               Debtors.


      NOTICE OF (I) EXECUTORY CONTRACTS AND UNEXPIRED LEASES TO BE
    ASSUMED BY THE DEBTORS, (II) CURE AMOUNTS, IF ANY, AND (III) RELATED
                    PROCEDURES IN CONNECTION THEREWITH

            PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2023, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Disclosure Statement Order”): (a) approving the Disclosure Statement Pursuant to 11 U.S.C. §
1125 with Respect to Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
and Its Affiliated Debtors [D.I. [●]] (together with all schedules and exhibits thereto, and as may
be modified, amended, or supplemented from time to time, the “Disclosure Statement”) and the
form and manner of notice; (b) approving procedures for soliciting, receiving, and tabulating votes
on the Plan and for filing objections to the Plan (the “Solicitation Procedures”); (c) approving
the forms of ballots; (d) approving the form, manner and scope of confirmation notices; (e)
establishing certain deadlines in connection with approval of the Disclosure Statement and
confirmation of the Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp.
and Its Affiliated Debtors [D.I. [●]] (together with all schedules and exhibits thereto, and as may
be modified, amended, or supplemented from time to time, the “Plan”); 2 and (f) granting related
relief.
        2.   On [●], 2023, the Debtors filed the Assumed Executory Contracts and Unexpired
Leases Schedule (the “Assumption Schedule”) with the Bankruptcy Court, as contemplated under
the Plan.
        3.     The Bankruptcy Court has scheduled a hearing beginning on December 19, 2023
at [●] (prevailing Eastern Time) (the “Confirmation Hearing”) to consider whether to confirm
the Plan. The Confirmation Hearing will be held before the Honorable Mary F. Walrath, United
States Bankruptcy Judge, at the Bankruptcy Court, located at 824 North Market Street, Fifth Floor,
Courtroom No. 4, Wilmington, Delaware 19801. Please be advised that the Confirmation

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      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
      Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
      Ct., Farmington Hills, MI 48331.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or the Disclosure
      Statement, as applicable.
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Hearing may be adjourned or continued from time to time by the Bankruptcy Court or the
Debtors without further notice other than as indicated in any notice or agenda of matters
scheduled for a particular hearing that is filed with the Bankruptcy Court or by being
announced in open court. If the Confirmation Hearing is continued, the Debtors will post the
new date and time of the Confirmation Hearing at https://www.kccllc.net/lordstown. The Plan
may be modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to creditors or other parties in interest, unless such notice is required by the
Bankruptcy Code, Bankruptcy Rules, or other applicable law.

        4.      You are receiving this notice because the Debtors’ records reflect that you are a
counterparty to an executory contract or unexpired lease that is listed on the Assumption Schedule.
The Debtors are proposing to assume the Executory Contracts and/or Unexpired Leases listed on
the Assumption Schedule, attached hereto as Exhibit A.3 Therefore, you are advised to review
carefully the information contained in this notice and the related provisions of the Plan, including
the Assumption Schedule.

        5.      Section 365(b)(1) of the Bankruptcy Code requires a chapter 11 debtor to cure, or
provide adequate assurance that it will promptly cure, any defaults under executory contracts and
unexpired leases at the time of assumption. Accordingly, the Debtors have conducted a thorough
review of their books and records and have determined the amounts required to cure defaults, if any,
under the Executory Contract(s) and Unexpired Lease(s), which amounts are listed in Exhibit A,
attached hereto. Please note that if no amount is stated for a particular Executory Contract or
Unexpired Lease, the Debtors believe that there is no cure amount outstanding for such contract
or lease.

        6.      Absent any pending dispute, the monetary amounts required to cure any existing
defaults arising under the Executory Contracts and/or Unexpired Leases identified in Exhibit A,
attached hereto, will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by the
Debtors’ payment of the cure amount in Cash as soon as reasonable following the Effective Date,
or on such other terms as the parties to Executory Contracts or Unexpired Leases may otherwise
agree. In the event of a dispute, however, payment of the cure amount would be made following
the entry of a final order(s) resolving the dispute and approving the assumption. Any objection
to the assumption of an Executory Contract or Unexpired Lease under the Plan must be
Filed, served and actually received by the Debtors within (10) days following the service of
this notice.

      7.     The Plan Objection Deadline is December 8, at 4:00 p.m. (prevailing Eastern
Time) (the “Plan Objection Deadline”). Any objection to the assumption of an Executory

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    Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease from the Assumption Schedule,
    nor anything contained in the Plan or each Debtor’s schedule of assets and liabilities, shall constitute an admission
    by the Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of
    assumption, that any Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or
    Unexpired Lease is necessarily a binding and enforceable agreement. Further, the Debtors expressly reserve the
    right to (a) remove any Executory Contract or Unexpired Lease from the Assumption Schedule and reject such
    Executory Contract or Unexpired Lease pursuant to the terms of the Plan, up until the Effective Date and (b)
    dispute any Claim (or cure amount) asserted in connection with assumption of any Executory Contract or
    Unexpired Lease.


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Contract or Unexpired Lease must: (a) be in writing; (b) state the name and address of the
objecting party and the nature and amount of the Claim or Interest of such party; (c) state with
particularity the legal and factual basis and nature of any objection to the Plan and include any
evidentiary support therefor; (d) conform to the Bankruptcy Rules, the local rules of the
Bankruptcy Court, and any order of the Bankruptcy Court; and (e) be filed with the Bankruptcy
Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together with proof of
service on or before the date set forth in paragraph 6 above and served so as to be actually
received by the parties below before the date set forth in paragraph 6 above, which service may be
through the CM/ECF system, with courtesy copies to:

       (a) counsel to the Debtors, (i) White & Case LLP, Southeast Financial Center, 200 South
           Biscayne Boulevard, Suite 4900, Miami, FL 33131 (Attn: Thomas E Lauria
           (tlauria@whitecase.com), Matthew Brown (mbrown@whitecase.com), and Fan B. He
           (fhe@whitecase.com)), 1221 Avenue of the Americas, New York, NY 10020 (Attn:
           David Turetsky (david.turetsky@whitecase.com)), 111 South Wacker Drive, Suite
           5100, Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)), and 555
           South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner
           (rkampfner@whitecase.com), Doah Kim (doah.kim@whitecase.com), and RJ Szuba
           (rj.szuba@whitecase.com)), and (ii) Womble Bond Dickinson (US) LLP, 1313 North
           Market Street, Suite 1200, Wilmington, Delaware 19801 (Attn: Donald J. Detweiler
           (don.detweiler@wbd-us.com) and Morgan L. Patterson (morgan.patterson@wbd-
           us.com));

       (b) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801
           (Attn: Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov));

       (c) counsel to the Creditors’ Committee, Troutman Pepper Hamilton Sanders LLP,
           Hercules Plaza, Suite 5100 1313 N. Market Street, Suite 5100 Wilmington, DE 19801
           (Attn: David M. Fournier (david.fournier@troutman.com), and 875 Third Avenue New
           York, NY 10022 (Attn: Deborah Kovsky-Apap (deborah.kovsky@troutman.com), and
           3000 Two Logan Square, 18th & Arch Streets, Philadelphia, PA 19103 (Attn: Francis
           J. Lawall (francis.lawall@troutman.com)); and

       (d) counsel to the Equity Committee, (i) Morris James LLP, 500 Delaware Avenue, Suite
           1500, Wilmington, DE 19801 (Attn: Eric J. Monzo (emonzo@morrisjames.com) and
           Brya M. Keilson (bkeilson@morrisjames.com)); and (ii) Brown Rudnick LLP, 7 Times
           Square, New York, NY 10036 (Attn: Robert J. Stark (rstark@brownrudnick.com) and
           Bennett S. Silverberg (bsilverberg@brownrudnick.com)).

       IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED AND
       SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY
       MAY BE BARRED FROM OBJECTING TO CONFIRMATION OF THE PLAN
       AND MAY NOT BE HEARD AT THE CONFIRMATION HEARING.

       8.     Any party that fails to timely object to the assumption of its Executory
Contract or Unexpired Lease (including the ability of the applicable Reorganized Debtor or
assignee to provide “adequate assurance of future performance” under such Executory


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Contract or Unexpired Lease within the meaning of section 365 of the Bankruptcy Code) or
the cure amount (a “Cure Claim”) listed on the Assumption Schedule shall be (i) deemed to
have consented to the assumption of its Executory Contract or Unexpired Lease and to such
Cure Claim and (ii) forever barred, estopped, and enjoined from disputing the amount of
the Cure Claim set forth on the Assumption Schedule or the Collective Bargaining
Agreement Schedule (including a cure amount of $0.00) and/or from asserting any Claim
against the applicable Debtor or Reorganized Debtor arising under section 365(b)(1) of the
Bankruptcy Code.

       9.     Assumption of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise, subject to the payment of the applicable Cure Claim as set forth in the
Assumption Schedule shall result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest composition or other bankruptcy-related defaults, arising
under any assumed Executory Contract or Unexpired Lease at any time before the date that
the Debtors assume such Executory Contract or Unexpired Lease; provided, that the Debtors
or the Reorganized Debtors, as applicable, will remain obligated to pay any accrued but
unbilled amounts under any such assumed Executory Contract or Unexpired Lease to the
extent that such unbilled amounts were not due to be billed prior to the date hereof. Any
Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed shall be deemed Disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court upon payment of the applicable Cure Claim.

        10.     If you wish to receive additional copies of the Plan or the Disclosure Statement,
you may receive copies free of charge from the Debtors’ Solicitation Agent by: (a) calling the
Debtors’ toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235
(international); (b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown;
(c) writing to Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific
Coast Highway, Suite 300, El Segundo, CA 90245; or (d) emailing lordstowninfo@kccllc.com
(with ‘Lordstown’ in the subject line). Please note that the Solicitation Agent is not authorized to,
and will not, provide legal advice to you. If you need legal advice, please consult with your
attorney.      You may also access from these materials for a fee via PACER at
http://www.deb.uscourts.gov/.

 YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
 INCLUDING THE DISCHARGE, INJUNCTION, RELEASE, AND EXCULPATION
 PROVISIONS CONTAINED IN ARTICLE VIII OF THE PLAN. ARTICLE VIII.D OF
 THE PLAN CONTAINS THIRD-PARTY RELEASES. THUS, YOU ARE ADVISED TO
 REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS
 MIGHT BE AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION
 AGENT AS SPECIFIED ABOVE. PLEASE NOTE THAT THE SOLICITATION



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AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED LEGAL ADVICE,
PLEASE CONSULT WITH YOUR ATTORNEY.




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Dated: October [●], 2023                      WHITE & CASE LLP
                                              Thomas E Lauria (admitted pro hac vice)
Respectfully submitted,
                                              Matthew C. Brown (admitted pro hac vice)
                                              Fan B. He (admitted pro hac vice)
/s/
                                              200 South Biscayne Boulevard, Suite 4900
                                              Miami, FL 33131
WOMBLE BOND DICKINSON (US)
                                              Telephone: (305) 371-2700
LLP
                                              tlauria@whitecase.com
                                              mbrown@whitecase.com
Donald J. Detweiler (Bar No. 3087)
                                              fhe@whitecase.com
Morgan L. Patterson (Bar No. 5388)
1313 North Market Street, Suite 1200
                                              David M. Turetsky (admitted pro hac vice)
Wilmington, Delaware 19801
                                              1221 Avenue of the Americas
Telephone: (302) 252-4320
                                              New York, NY 10020
Facsimile: (302) 252-4330
                                              Telephone: (212) 819-8200
don.detweiler@wbd-us.com
                                              david.turetsky@whitecase.com
morgan.patterson@wbd-us.com
                                              Jason N. Zakia (admitted pro hac vice)
Proposed Counsel to the Debtors and
                                              111 South Wacker Drive, Suite 5100
Debtors in Possession
                                              Chicago, IL 60606
                                              Telephone: (312) 881-5400
                                              jzakia@whitecase.com

                                              Roberto Kampfner (admitted pro hac vice)
                                              Doah Kim (admitted pro hac vice)
                                              RJ Szuba (admitted pro hac vice)
                                              555 South Flower Street, Suite 2700
                                              Los Angeles, CA 90071
                                              Telephone: (213) 620-7700
                                              rkampfner@whitecase.com
                                              doah.kim@whitecase.com
                                              rj.szuba@whitecase.com

                                              Counsel to Debtors and Debtors-in-Possession
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                          Exhibit A

  Assumed Executory Contracts and Unexpired Leases Schedule
